    Case 1:19-cv-03425-RJL Document 29-1 Filed 05/10/21 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


   KEREN KAYEMETH LEISRAEL-JEWISH
   NATIONAL FUND, et al.,


             Plaintiffs,                               No. 19-cv-3425 (RJL)

      v.

   EDUCATION FOR A JUST PEACE IN THE
   MIDDLE EAST,

             Defendant.


                                    [PROPOSED]
                                      ORDER


       Plaintiffs’ Motion for Reconsideration pursuant to Fed. R. Civ. P. 59(e) is hereby

DENIED.




____________________, 2021
                                                   RICHARD J. LEON
                                                   United States District Judge
